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EXHIBIT 1
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EXHIBIT 1
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IN THE COURT OF COMMON PLEAS OF
MONROE COUNTY, PENNSYLVANIA

DAVID MUNIZ : Docket No:
CATHY MUNIZ OF a,
YM ‘4 CV Eo,
Plaintiffs, oan
VS. : oO Ss 2.
NOTICE TO DEFEND Z@, -y a
SILVIA VITIELLO Ea a
AIR BNB fw
Defendants. ;

Notice

You have been sued in court. If you wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this complaint and
notice are served, by entering a written appearance personally or by attorney and filing
in writing with the court your defenses or objections to the claims set forth against you.
You are warned that if you fail to do so the case may proceed without you and a
judgment may be entered against you by the court without further notice for any money
claimed in the complaint or for any other claim or relief requested by the plaintiff. You
may lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW. THIS
OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWYER.

IF YOU CANNOT AFFORD TO HIRE ALAWYER, THIS OFFICE MAY BE ABLE TO
PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL
SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

MONROE COUNTY BAR ASSOCIATION
Find a Lawyer Program

913 Main Street

Stroudsburg, PA 18360

Phone: (570) 424-1340
Fax: (570) 424-8234 Le

John E. Lavelle, Esq.

PA Bar 1.D.: 315154

John E. Lavelle Law Firm P.C.

630 Willis Avenue

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Phone: (877) 465-5997

Fax: (877) 471-1798
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Case 3:23-cv-00825-JFS Document 1-1 Filed 05/18/23 Page 4 of 18

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Phone: (877) 465-5997
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Attorneys for Plaintiffs

John. Lavelle@LavellelnjuryFirm.com

IN THE COURT OF COMMON PLEAS OF
MONROE COUNTY, PENNSYLVANIA

DAVID MUNIZ i
737 Klondike Avenue ; 2
State Island, New York 10314 : Docket No: a

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CATHY MUNIZ CY 4 o>
737 Klondike Avenue ‘ \ 2 fe
State Island, New York 10314 :

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AUVLONO' 1

Plaintiffs,
VS.
E Not an Arbitration Case
SILVIA VITIELLO :

563 Cariton Road
Tobyhanna, PA 18466

YNOW

AIR BNB

888 Brannan Street i
San Francisco, CA 94103 : Plaintiffs Request a

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3913408 44iy3Hs

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Defendants.

COMPLAINT IN A CIVIL ACTION

AND NOW comes plaintiffs, DAVID MUNIZ and CATHY MUNIZ, by their counsel

John &, Lavelle, Esq. of John E. Lavelle Law Firm P.C., 630 Willis Avenue, Williston
Park, New York 11596, and files this complaint against Defendants, SILVIA VITIELLO

and AIR BNB, and upon information and belief alleges as follows:

1.

the above address in Richmond County, New York.

Plaintiffs DAVID MUNIZ and CATHY MUNIZ are adults residing at
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2. At all times hereinafter relevant, Defendant SILVIA VITIELLO is an
adult residing at the above address in Monroe County, Pennsylvania.

3. At all times hereinafter relevant, Defendant AIR BNB is a
corporation duly existing by and under the laws of the State of California with the above

primary place of business.

4. Venue is proper in Monroe County because defendant resides in

Monroe County, Pennsylvania.

5. Venue is proper in Monroe County because the events giving rise
to this litigation occurred in Monroe County, Pennsylvania.

6. On or before February 26, 2022, Defendant SILVIA VITIELLO
owned a premises located at 627 Carlton Road, Tobyhanna, PA 18466 (the

“Premises’).

7. On or before February 26, 2022, Defendant SILVIA VITIELLO was

the lessor of the Premises.

8. On or before February 26, 2022, Defendant SILVIA VITIELLO was

the lessee of the Premises.

9. On or before February 26, 2022, Defendant SILVIA VITIELLO was

the managing agent of the Premises.

10. On or before February 26, 2022, Defendant SILVIA VITIELLO was

the leasing agent of the Premises.

11. On or before February 26, 2022, Defendant SILVIA VITIELLO was

the rental agent of the Premises.
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12. On or before February 26, 2022, Defendant SILVIA VITIELLO
operated the Premises.

13. On or before February 26, 2022, Defendant SILVIA VITIELLO
maintained the Premises.

14. On or before February 26, 2022, Defendant SILVIA VITIELLO
managed the Premises.

15. On or before February 26, 2022, Defendant SILVIA VITIELLO
controlled the Premises.

16. Onor before February 26, 2022, Defendant SILVIA VITIELLO listed
the Premises for rent on Air BNB.

17. On or before February 26, 2022, Defendant SILVIA VITIELLO
offered the Premises for rent on Air BNB.

18. On or before February 26, 2022, Defendant SILVIA VITIELLO
rented the Premises through Air BNB.

19. On or before February 26, 2022, Defendant AIR BNB owned a
premises located at 627 Carlton Road, Tobyhanna, PA 18466 (the “Premises’).

20. On or before February 26, 2022, Defendant AIR BNB was the
lessor of the Premises.

21. On or before February 26, 2022, Defendant AIR BNB was the
lessee of the Premises.

22. On or before February 26, 2022, Defendant AIR BNB was the

managing agent of the Premises.
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23. On or before February 26, 2022, Defendant AIR BNB was the

leasing agent of the Premises.

24. On or before February 26, 2022, Defendant AIR BNB was the

rental agent of the Premises.

25. On or before February 26, 2022, Defendant AIR BNB operated the

Premises.

26. On or before February 26, 2022, Defendant AIR BNB maintained

the Premises.

27. On or before February 26, 2022, Defendant AIR BNB managed the

Premises.

28. On or before February 26, 2022, Defendant AIR BNB controlled the

Premises.

29. On or before February 26, 2022, it was the duty of Defendants to

maintain said Premises in a safe and hazard free condition.

30. On or before February 26, 2022, there was a heating system

located within the Premises.

31. On or before February 26, 2022, it was the duty of Defendants to

maintain the heating system located within the Premises.

32. On or before February 26, 2022, Defendants rented the Premises

to plaintiffs’ family.
33. On or before February 26, 2022, Defendants warranted that the

Premises was in a safe and hazard free condition by renting same.
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34. On or before February 26, 2022, plaintiffs and their family members
arrived at the Premises.

35. Onor before February 26, 2022, plaintiffs and their family members
began to use the Premises.

36. On or before February 26, 2022, plaintiffs and their family members
stayed within the Premises.

37. Onor before February 26, 2022, plaintiffs and their family members
used the heating system in the Premises.

38. On February 26, 2022, Plaintiff DAVID MUNIZ was lawfully at the
Premises.

39. On February 26, 2022, Plaintiff CATHY MUNIZ was lawfully at the
Premises.

40. On February 26, 2022, said heating system in the Premises was in
a dangerous and unsafe condition.

41. On February 26, 2022, in the evening hours, plaintiffs and their

family members were exposed to carbon monoxide due to a defect in said heating

system.

42. On February 26, 2022, plaintiffs and their family members were
injured due to exposure to carbon monoxide due to a defect in said heating system.
43. Defendants created the dangerous and hazardous condition

described above.

44. Defendants were aware of the dangerous and hazardous condition

described above.
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45. Defendants had knowledge of the dangerous and hazardous

condition described above.

46. Defendants were notified of the dangerous and hazardous

condition described above.

47. Defendants failed to remedy the dangerous and hazardous

condition described above.

48. Defendants failed to prevent the dangerous and hazardous

condition described above.
49. Defendants failed to do adequate maintenance which would have
prevented the dangerous and hazardous condition described above.

50. That on or before February 26, 2022, Defendants provided no

warnings regarding the heating system.

COUNT |: DAVID MUNIZ v. SILVIA VITIELLO

51. ‘Plaintiff David Muniz repeats all prior allegations as if set forth

herein at length.

52. As a result of the carbon monoxide exposure described herein,

emergency services were called to the home.

53. As a result of the carbon monoxide exposure described herein,
Plaintiff was removed from the home by ambulance and taken to Regional Hospital of

Scranton.

54. As a result of the carbon monoxide exposure described herein,

Plaintiff was treated at Regional Hospital of Scranton.
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55. As a result of the carbon monoxide exposure described herein,
Plaintiff suffered breathing trauma.

56. As a result of the carbon monoxide exposure described herein,
Plaintiff suffered breathing difficulties and/or limitations.

57. As a result of the carbon monoxide exposure described herein,
Plaintiff had to seek medical attention.

58. Plaintiff has suffered economic damages.

59. Plaintiff has sustained extensive non-economic damages.

60. On February 26, 2022, Defendant had a duty to assure that their
Premises was in a safe and hazard-free condition.

61. On February 26, 2022, Defendant had a duty to warn of known
dangers.

62. On or before February 26, 2022, Defendant had a duty to inspect
the Premises to keep same in a safe condition.

63. On February 26, 2022, Plaintiff had the right to assume that the
Premises and its systems and equipment were in a safe condition.

64. ‘Plaintiff, DAVID MUNIZ, suffered bodily injuries, severe pain and
suffering, medical expenses and the loss of life’s pleasures in the past, present and into
the future.

65. That the injuries sustained by Plaintiff, DAVID MUNIZ, are the

direct result of the negligence of Defendant as described herein.
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66. The incident and injuries described herein were exclusively caused
by the negligence and/or carelessness of the Defendant and are due in no part to the
actions or inactions of the Plaintiff.

WHEREFORE, Plaintiff DAVID MUNIZ demands judgment in a sum which
exceeds the arbitration limit, plus interest and costs of suit and delay damages as may

be recoverable under the Pennsylvania Rules of Civil Procedure.

COUNT It: DAVID MUNIZ v. AIR BNB

67. Plaintiff David Muniz repeats all prior allegations as if set forth
herein at length.

68. As a result of the carbon monoxide exposure described herein,
emergency services were called to the home.

69. As a result of the carbon monoxide exposure described herein,
Plaintiff was removed from the home by ambulance and taken to Regional Hospital of
Scranton.

70. As a result of the carbon monoxide exposure described herein,
Plaintiff was treated at Regional Hospital of Scranton.

71. As a result of the carbon monoxide exposure described herein,
Plaintiff suffered breathing trauma.

72. As a result of the carbon monoxide exposure described herein,
Plaintiff suffered breathing difficulties and/or limitations.

73. As a result of the carbon monoxide exposure described herein,
Plaintiff had to seek medical attention.

74. Plaintiff has suffered economic damages.
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75. — Plaintiff has sustained extensive nen ecanomie damases,

76. On February 26, 2022, Defendant had a duty to assure that their
Premises was in a safe and hazard-free condition.

77... On February 26, 2022, Defendant had a duty to warn of known
dangers.

78. On or before February 26, 2022, Defendant had a duty to inspect
the Premises to keep same in a safe condition.

79. On February 26, 2022, Plaintiff had the right to assume that the
Premises and its systems and equipment were in a safe condition.

80. Plaintiff, DAVID MUNIZ, suffered bodily injuries, severe pain and
suffering, medical expenses and the loss of life's pleasures in the past, present and into
the future.

81. That the injuries sustained by Plaintiff, DAVID MUNIZ, are the
direct result of the negligence of Defendant as described herein.

82. The incident and injuries described herein were exclusively caused
by the negligence and/or carelessness of the Defendant and are due in no part to the
actions or inactions of the Plaintiff.

WHEREFORE, Plaintiff DAVID MUNIZ demands judgment in a sum which
exceeds the arbitration limit, plus interest and costs of suit and delay damages as may

be recoverable under the Pennsylvania Rules of Civil Procedure.

COUNT Ill: CATHY MUNIZ v. SILVIA VITIELLO

83. Plaintiff Cathy Muniz repeats all prior allegations as if set forth

herein at length.
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84. As a result of the carbon monoxide exposure described herein,
emergency services were called to the home.

85. As a result of the carbon monoxide exposure described herein,
Plaintiff was removed from the home by ambulance and taken to Regional Hospital of
Scranton.

86. As a result of the carbon monoxide exposure described herein,
Plaintiff was treated at Regional Hospital of Scranton.

87. As a result of the carbon monoxide exposure described herein,
Plaintiff suffered breathing trauma.

88. As a result of the carbon monoxide exposure described herein,
Plaintiff suffered breathing difficulties and/or limitations.

89. As a result of the carbon monoxide exposure described herein,
Plaintiff had to seek medical attention.

90. Plaintiff has suffered economic damages.

91. Plaintiff has sustained extensive non-economic damages.

92. On February 26, 2022, Defendant had a duty to assure that their
Premises was in a safe and hazard-free condition.

93. On February 26, 2022, Defendant had a duty to warn of known
dangers.

94. On or before February 26, 2022, Defendant had a duty to inspect

the Premises to keep same in a safe condition.

95. On February 26, 2022, Plaintiff had the right to assume that the

Premises and its systems and equipment were in a safe condition.
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96. Plaintiff, DAVID MUNIZ, suffered bodily injuries, severe pain and
suffering, medical expenses and the loss of life’s pleasures in the past, present and into

the future.

97. That the injuries sustained by Plaintiff, CATHY MUNIZ, are the
direct result of the negligence of Defendant as described herein.

98. The incident and injuries described herein were exclusively caused
by the negligence and/or carelessness of the Defendant and are due in no part to the
actions or inactions of the Plaintiff.

WHEREFORE, Plaintiff CATHY MUNIZ demands judgment in a sum which
exceeds the arbitration limit, plus interest and costs of suit and delay damages as may

be recoverable under the Pennsylvania Rules of Civil Procedure.

co IV: CATHY MUNIZ v. AIR BNB
99. Plaintiff Cathy Muniz repeats all prior allegations as if set forth

herein at length.

100. As a result of the carbon monoxide exposure described herein,

emergency services were called to the home.

101. As a result of the carbon monoxide exposure described herein,
Plaintiff was removed from the home by ambulance and taken to Regional Hospital of

Scranton.

102. As a result of the carbon monoxide exposure described herein,

Plaintiff was treated at Regional Hospital of Scranton.

103. As a result of the carbon monoxide exposure described herein,

Plaintiff suffered breathing trauma.
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104. As a result of the carbon monoxide exposure described herein,
Plaintiff suffered breathing difficulties and/or limitations.

105. As a result of the carbon monoxide exposure described herein,
Plaintiff had to seek medical attention.

106. Plaintiff has suffered economic damages.

107. Plaintiff has sustained extensive non-economic damages.

108. On February 26, 2022, Defendant had a duty to assure that their
Premises was in a safe and hazard-free condition.

109. On February 26, 2022, Defendant had a duty to warn of known
dangers.

110. On or before February 26, 2022, Defendant had a duty to inspect
the Premises to keep same in a safe condition.

111, On February 26, 2022, Plaintiff had the right to assume that the
Premises and its systems and equipment were in a safe condition.

112. Plaintiff, CATHY MUNIZ, suffered bodily injuries, severe pain and
suffering, medica! expenses and the loss of life’s pleasures in the past, present and into
the future.

113. That the injuries sustained by Plaintiff, CATHY MUNIZ, are the
direct result of the negligence of Defendant as described herein.

114. The incident and injuries described herein were exclusively caused
by the negligence and/or carelessness of the Defendant and are due in no part to the

actions or inactions of the Plaintiff.
Case 3:23-cv-00825-JFS Document 1-1 Filed 05/18/23 Page 16 of 18

WHEREFORE, Plaintiff CATHY MUNIZ demands judgment in a sum which
exceeds the arbitration limit, plus interest and costs of suit and delay damages as may

be recoverable under the Pennsylvania Rules of Civil Procedure.

Metd_

John E. Lavelle, Esq.

PA Bar I.D.: 315154

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630 Willis Avenue

Williston Park, New York 11596
Phone: (877) 465-5997

Fax: (877) 471-1798

John. Lavelle@LavelleiniuryFirm.com
Case 3:23-cv-00825-JFS Document 1-1 Filed 05/18/23 Page 17 of 18

VERIFICATION
1, DAVID MUNIZ, am the plaintiff in this action and | depose and say that the
statements contained in the foregoing Complaint are true and accurate to the best of my
knowledge, information and belief. | understand that the statements contained herein
are subject to 18 PA.C.S. §4904.
pated: 3/7/23

*

DAVID MUNIZ
Case 3:23-cv-00825-JFS Document 1-1 Filed 05/18/23 Page 18 of 18

VERIFICATION
|, CATHY MUNIZ, am the plaintiff in this action and | depose and say that the

statements contained In the foregoing Complaint are true and accurate to the best of my
knowledge, information and belief. | understand that the statements contained herein

are subject to 18 PA.C.S. §4904.
Dated: 3 / 7 / a3

 

ahs MUNIZ —
